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                             UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF
                                       FLORIDA

                           Case No.: 21-cv-21940-BLOOM/Otazo-Reyes

  NEIMA BENAVIDES, as Personal
  Representative of the Estate of Naibel
  Benavides Leon, deceased,

          Plaintiff,

  v.

  TESLA, INC., a/k/a Tesla Florida, Inc.,

          Defendant.
                                               /


   DILLON ANGULO,                                  Case 1:22-22607-KMM

          Plaintiff,

   v.
   TESLA, INC. a/k/a Tesla Florida, Inc.


              Defendant.
                                           /


   TESLA, INC.’S RESPONSE IN OPPOSITION TO DILLON ANGULO’S
            MOTION TO CONTINUE TRIAL TO JUNE, 2024

         Tesla, Inc. (“Tesla”), through its undersigned counsel, hereby responds to

 Plaintiff Dillon Angulo’s Motion to Continue Trial (Dkt. 72), and states that it



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 OPPOSES Plaintiff’s request that trial be continued to June, 2024. For the reasons

 stated in Tesla’s Motion to Enforce Discovery Order (Dkt. 68) and Tesla’s Reply in

 Support (Dkt. 80), Tesla respectfully Requests that this Honorable Court limit any

 continuance granted for trial to February, 2024 or earlier.

         In support of Tesla’s Response in Opposition, Tesla Relies on Tesla’s Motion

 to Enforce Discovery Order (Dkt. 68), Tesla’s Reply in Support (Dkt. 80), and all

 other materials submitted to the Docket for this matter.

                                      CONCLUSION

         WHEREFORE, Tesla respectfully requests that this honorable Court GRANT

 the relief requested above.

 Date: January 24, 2023

                                      Respectfully submitted,

                                  By: /s/ Henry Salas
                                      HENRY SALAS (815268)
                                      COLE SCOTT & KISSANE
                                      9150 S Dadeland Blvd Ste 1400
                                      Miami, FL 33156-7855
                                      Office: 786-268-6419
                                      Fax: 305-373-2294
                                      henry.salas@csklegal.com

                                           - and –

                                      THOMAS P. BRANIGAN (Admitted Pro Hac
                                      Vice)
                                      DREW P. BRANIGAN (Admitted Pro Hac
                                      Vice)
                                      BOWMAN AND BROOKE LLP

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                                  41000 Woodward Avenue
                                  Suite 200 East
                                  Bloomfield Hills, MI 48304
                                  248.205.3300 / 248.205.3399 fax
                                  thomas.branigan@bowmanandbrooke.com
                                  drew.branigan@bowmanandbrooke.com

                                  Attorneys for Defendant TESLA, Inc.




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                           CERTIFICATE OF SERVICE
         I hereby certify that on January 24, 2023, I electronically file the foregoing

 paper with the Clerk of the Court using the ECF system which will send notification

 of such filing to the following:

  ADAM T. BOUMEL, ESQ.                           Todd Poses, Esquire
  Florida Bar No.: 0110727                       Florida Bar No.: 0075922
  DARREN J. ROUSSO, ESQ.                         POSES & POSES, P.A.
  Florida Bar No.: 97410                         Alfred I. Dupont Building
  THE ROUSSO, BOUMEL LAW FIRM,                   169 East Flagler Street Suite
  PLLC.                                          1600
  9350 South Dixie Highway                       Miami, Florida 33131
  Suite 1520                                     (305) 577-0200 Tel
  Miami, Florida 33156                           (305) 371-3550 Fax
  (305) 670-6669                                 tposes@posesandposes.com
  Adam@roussolawfirm.com                         maria@posesandposes.com
  SERVICE EMAILS:
  pleadings@roussolawfirm.com                    Attorneys for Plaintiff Neima
  (primary)                                      Benavides
  Frank@roussolawfirm.com
  (secondary)                                    Elise R. Sanguinetti, Esq. (PHV)
                                                 ARIAS SANGUINETTI WANG &
                                                 TORRIJOS, LLP
  Attorneys for Plaintiff Dillon Angulo
                                                 2200 Powell Street, Suite 740
                                                 Emeryville, CA 94608
                                                 T: 510.629.4877
                                                 M: 310.844.9696
                                                 F: 510.291.9742
                                                 E: elise@asstlawyers.com
                                                 E: ncservice@aswtlawyers.com

                                                 Co-Counsel for Plaintiffs
                                                 Benavides and Angulo

                                           Respectfully submitted,
                                           By: s/Henry Salas_____________


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